Case: 3:12-cv-00046-MPM-DAS Doc #: 1 Filed: 05/16/12 1 of 16 PagelD #: 1

FILED:

 

 

 

PETITION UNDER 28 U.S.C. § 2254 FOR WRIT OF - DAVI ER
‘HABEAS CORPUS BY A PERSON IN STATE CUSTODY BY. jepuly
United States District-Court District Norther
Docket or Case No.:

 

Name (under which you were convicted): (OL E N N E \ CPOSE 3! ACvOHtb - MS
ree rome A (o.Loee Lac; [ity Prisoner No.: 93U5U

CL include the name‘under which you were convicted) Respondent (authorized person having custody of petitioner)

CLENME. CRoSE _“ WARDEN J. STREETER

The Attorney General of the State of Misciss1PP) [Si SI MM WOOD

PETITION

 

 

 

 

 

 

 

 

1. (a) Name and Jocation of court that e “Cow the jud te convjction ygu are, challengipg Lo Lo UA He
Guth, Ovo EL tbo] | Ho Honea

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(b) Criminal docket or case number (if you know):
2.. (a) Date of the judgment of conviction (if you know):
(b) Date of sentencing:

 

 

3. Length of sentence: } 3

4. In this case, were you convicted on more than one count or of more than one crime? Yes we No 0

5. Identify all crirnes i which you were convicted and sentenced in this val Gq ho I al ,
“okeucle (3) Count

 

 

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one. COU ot Child veglect /'

 

 

 

6. (a) What was your plea? (Check one)
(1) Not guilty (3) Nolo contendere (no contest) O
(2) Guilty 0 (4) Insanity plea Oo
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(b) If you entered a guilty plea to one count or charge and a not guilty plea to another count or charge, what did

you plead guilty to and what did you plead not guilty to?

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L !

(c) If you went to trial, what kind of trial did you have? (Check one)

 

 

 

 

 

Jury Judge only O

7. Did you testify at a pretrial hearing, trial, or a post-trial hearing?
Yes O No wt

8. Did you appeal from the judgment of conviction?
Yes No O

9. Ifyou did appeal, answer the following:
(a) Name of court: Miss, Court of Aopeal «
(b) Docket or case number (if you know): | Z003- K A~ Ol7 bl —COfL
(c) Result: ike: anced
(d) Date of result (if you know): g / / Y / ZO l O
(e) Citation to the case (if you know): : ‘ % @ z
(f) Grounds raised: [
euideace Lhe Povennc ‘Th
Court eyred bu not allowing op By ho Cease WNC,
Olovig 4 Becterr (Sine tral Cor Co ale bat 4 sen +
Q a Mishyal?
Hit (9 f i Y ’ sul ‘icin:
(g) Did you seek further review by a higher state court? Yes No Q Feu Got ei \ Cc

If yes, answer the following:

(1) Name of court: Li SS, Supreme Court
(2) Docket or case number (if yoy know): L008 CT O l Lee [ ~ 7 CT
AM). f Ce pV LQ x: p

 

 

 

   
   

 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

 

   

  

(4) Date of result (if you know): Krank ba 9/4] 2il, Beniecd on Z2/ / b/ J zm

(5) Citation to the case } . you know):

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asserts Wat he is ek iSUALSSa

 

 
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(h) Did you file a petition for certiorari in the United States Supreme Court? Yes O No a

If yes, answer the following:

 

(1) Docket or case number (if you know): la»
(2) Result: | / /
J /- FA

 

~~

Aw

 

(3) Date of result (if you know):

 

(4) Citation to the case (if you know):
10, Other than the direct appeals listed above, have you previously filed any other petitions, applications, or motions
concerning this judgment of conviction in any state court?
Yes 0 No

11, Hyour answer to Question 10 was “Yes,” give the following information:

 

(a) (1) Name of court:

 

(2) Docket or case number (if you know):

(3).Date of filing (if you know): { [

(4) Nature of the proceeding: ff | /
(5) Grounds raised: : / [ [

 

 

 

 

 

 

 

(6) Did you receive a hearing where evidence was given on your petition, application, or motion?
Yes Q No

(7) Result:

(8) Date of result (if you know):

 

 

(b) If you filed any second petition, application, or motion, give the same information:

 

 

(1) Name of court: J
(2) Docket or case number (if you know): / [-
(3) Date of filing (if you know): ___ l |

 

 

 

Soe as -(4) Nature Of the proceeding: ——————~--~~

. (5) Grounds raised: [ v [ f LE

 

 

 

 

 

 
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IVIL;
7 [ |
(6) Did you receive a hearing where evidence was given on your petition, application, or motion?

Yes O No a

(7) Result:
(8) Date of result (if you know):

 

 

 

(c) If you filed any third petition, application, or motion, give the same information:

 

 

 

 

 

 

 

 

(1) Name of court:

(2) Docket or case number (if you know):

(3) Date of filing (if you know): h i
(4) Nature of the proceeding: \ LL
(5) Grounds raised: v | |

 

__|

 

 

 

 

 

 

 

(6) Did you receive a hearing where evidence was given on your petition, application, or motion?

Yes Q No @
(7) Result:
(8) Date of result (if you know):

 

 

(d) Did you appeal to the highest state court having jurisdiction over the action taken on your petition,

application, or motion?
(1) First petition: Yes bv Q
(2) Second petition: YesQ) No QO)
(3) Third petition: Yes) No O

(e) If you did not appeal to the highest state court having jurisdiction, explain why you did not:

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12. For this petition, state every ground on which you claim that you are being held in violation of the Constitution,
laws, or treaties of the United States. Attach additional pages if you have more than four grounds. State the
facts supporting each ground.

CAUTION: To proceed in the federal court, you must ordinarily first exhaust (use up) your available state-court

 

remedies on each ground on which you request action by the the federal court. Also, if you fail to set forth all the

ounds in this petition, you may be barred from presenting additional grounds at a later date,

crown one: Whee Hie, Sole Courts clecition ow Yne_bno vite.
CXCEDLio4 aim involve! Qu Lv rea Sonavir applications g | WwW.
(a) Supporting facts (Do not argue oy cite law. Just state the specific fac t support claim.):
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(b) If you did not exhaust your state remedies on Ground ‘One, explain why:

 

 

 

 

 

 

 

   

 

 

 

 

 

 

 

 

 

 

 

 

 

(c) Direct Appeal of Ground One:
(1) If you appealed from the judgment of conviction, did you raise this issue?
Yes & No O
(2) If you did not raise this issue in your direct appeal, explain why: rf fy.

LLfL
V7 TT

(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?
oe

(2) If your answer to Question (d)(1) is “Yes,” state:

 

{d) Post-Conviction Proceedings:

 

 

 

 

Type of motion or petition: [

Name and location of the court where the motion or petition was filed: it 7 Hy
UY

Docket or case number (if you know): L L f_!

Date of the court’s decision:

 
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Result (attach a copy of the court’s opinion or order, if available): £ £2

 

(3) Did you receive a hearing on your motion or petition?
Yes O No

(4) Did you appeal from the denial of your motion or petition?
Yes O No

(5) If your answer to Question (d)(4) is “Yes,” did you raise this issue in the appeal?
YesO NoQ

(6) If your answer to Question (d)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

 

j_.
| /f]
Docket or case number (if you know): [ / Al

Date of the court’s decision: [ / [ /
Result (attach a copy of the court’s opinion or order, if available):

 

 

 

 

 

 

_ (7) Ifyour answer to Question (d)(4) or Question (d)(5) is “No,” explain why you did not raise this issue:

(e)

 

 

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Other Remedies: Describe any other procedures (such as habeas corpus, Lok Cet ies, etc.) that you
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have ysed to exhgust your state remedies on Ground One: [ A NY fova (1

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crounp Two: _/ if kei [ Court erreol by Binclin that Le

 

 

 

 

 

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facts that support your claim.):
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(b) If you did not exhaust your state remedies on Ground Two, explain why:

 

 

 

 

(c) Direct Appeal of Ground Two:
(1) If you appealed from the judgment of conviction, did you raise this issue?
Yes oO

(2) If you did not raise this issue in your direct appeal, explain why:

 

 

WALZ,
oY

 

(d) Post-Conviction Proceedings:
(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?
Yes Q) No
(2) If your answer to Question (d)(1) is “Yes,” state:

Type of motion or petition:

 

A/STL
ZV 7
7d?

 

Name and location of the court where the motion or petition was filed:

Docket or case number (if you know):

 

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

 

 

(3) Did you receive a hearing on your motion or petition?
Yes O No

(4) Did you appeal from the denial of your motion or petition?
Yes Q Noa

(5) If your answer to Question (d)(4) is “Yes,” did you raise this issue in the appeal?
Yes Q No [ae

(6) If your answer to Question (d)(4) is “Yes,” state:

Name and location of the court where the appeal was filed:

 

SS
PL
N
Ss

Docket or case number (if you know):

SS
N
IN
IN
MN

Date of the court’s decision:

S
N

Result (attach a copy of the court’s opinion or order, if available): J

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(7) If your answer to Question (d)(4) or Question (d)(5) is “No,” explain why you did not raise this issue:

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(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative semedies, etc.) that you
4 4

have us x to Wi your state remedies on Ground Tw
Jé, Spreme

 

 

 

 

 

 

GROUND THREE: Whe Maew (ow, “A eli ia Fov rey Ss kestjargay Shab) hae
veea_exclirte cl for Le SHANG biimonu of Krl Jorchyy

(a) Supporting facts (Do not argue “Ch, Just stat, thedpecific facts that support your clain.):
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A| | tcl e\) (b) If you did not exhaust your state remedies on Ground Three, explain why:
t

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f "4
(c) Direct Appeal of Ground Three:
(1) If you appealed from the judgment of conviction, did you raise this issue?
Yes & No O
(2) If you did not raise this issue in your direct appeal, explain why: 7 7 ,
VU /
wT

 

(d) Post-Conviction Proceedings:
~ (1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?
Yes O No QO
(2) If your answer to Question (d)(1) is “Yes,” state:
Type of motion or petition:
Name and location of the court where the motion or petition was filed: I [ Lf gf

L°L LL
/

 
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Page 10
Docket or case number (if you know):
Date of the court’s decision: ;
Result (attach a copy of the court’s opinion or order, if available); 7 F f /
c
7

(3) Did you receive a ing on your motion or petition?

Yes Q No on
(4) Did you appeal frger the denial of your motion or petition?

Yes O ot
(5) If your answer to Question (d)(4) is “Yes,” did you raise this issue in the appeal?

Yes O No oo
(6) If your answer to Question (d)(4) is “Yes,” state:
Name and location of the court where the appeal was filed: I, ~f)

 

Docket or case number (if you know): ff | [ L

Date of the court’s decision:

 

Result (attach a copy of the court’s opinion or order, if available):

 

 

(7) If your answer to Question (d)(4) or Question (d)(5) is “No,” explain why you did not raise this issue:
/

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Lt
(e) Other Remedies: Describe any other procedures (such as habeas corpus, administrative remedies, etc.) that you
have used to exhgust your state remedies on an LS S$, 5. LP(EWUE

 

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GROUND FOUR: lh Li vial
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(a) Supporting facts (Do not argue or cite Le Just state ot specific fagts that jee yout claim.):
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(b) If you did not exhaust ypur state remedies on Grqund Four, explain why:
Ot AMV Can oly rou
Callatelal elret \

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(c) Direct Appeal of Ground Four:
(1) If you appealed from the judgment of conviction, did you raise this issue?
Yes O No
(2) If you did not raise this issue in your direct appeal, explain why: Same Q 5
Cibo pre.
(d) Post-Conviction Proceedings:
(1) Did you raise this issue through a post-conviction motion or petition for habeas corpus in a state trial court?
Yes O No =
(2) If your answer to Question (d)(1) is “Yes,” state:
Type of motion or petition:

 

 

 

 

 

 

 

Name and location of the court where the motion or petition was filed: 7 7
Docket or case number (if you know): L /
Date of the court’s decision: A f-

Result (attach a copy of the court’s opinion or order, if available):

 

 

 

(3) Did you eo on your motion or petition?
Yes O No

(4) Did you appeal from the denial of your motion or petition?
Yes O No
(5) If your answer to Question (d)(4) is “Yes,” did you raise this issue in the appeal?

Yes Q No Ge

(6) If your answer to Question (d)(4) is “Yes,” state:

 

Name and location of the court where the appeal was filed:

es
PSN

 

Le
Docket or case number (if you know): /

r
Date of the court’s decision: / /
L

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Result (attach a copy of the court’s opinion or order, if available):

 

 

 
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(7) If your answer to Question (d)(4) or Question (d){5) is “No,” explain why you did not raise this issue:

 

 

 

 

 

 

 

 

 

 

13. Please answer these additional questions about the petition you are filing:
(a) Have all grounds for relief that you have raised in this petition been presented to the highest state court
having jurisdiction? Yes No @™

If your answer is “No,” state which aie have not been so presented and tae your reason(s) for not

 
 
  
  
   
 

presenting them:

    

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t been presented in some state or federal court? If so, which

 

(b) Is there any ground in this petition that has n6

ground or grounds have not been presented, and state your Bok for not presenting them:

701e Gs QADoV

 

 

14. Have you previously filed any type of petition, application, or motion in a federal court regarding the conviction
that you challenge in this petition? Yes OQ Noe
If “Yes,” state the name and location of the court, the docket or case number, the type of proceeding, the issues
raised, the date of the court’s decision, and the result for each petition, application, or motion filed. Attach a

copy of any court opinion or order, if available.

 

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. Do you have any petition or appeal now pending (filed and not decided yet) in any court, either state or federal,

for the judgment you are challenging? Yesl No

If‘‘Yes,” state the name and location of the court, the docket or case number, the type of proceeding, and the

issues raised.

 

WZ

 

 

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. Give the name and address, if you know, of each attorney who represented you in the following stages of the

judgment you are challenging:

 

 

 

 

 

 

(2) Aj preliminary hearing:__——,_ Cy Mravy
(b) At arraignment and plea: ~y, Cay fUea A.

(c) At trial: “yh Cay WArOn

(d) At sentencing: __ ~~), Ca yMecavY

 

 

(e) On appeal: “Yosla UG A . “pone

 

(f) In any post-conviction proceeding: Pp WO $ eC

 

(g) On appeal from any. ruling against you in a post-conviction proceeding: pe Oo ce

 

 

Do you have any future sentence to serve afler you complete the sentence for the judgment that you are
challenging? Yes ONo 5
(a) Ifso, give name and location of court that imposed the other sentence ++ will serve in the future:

TTT

 

(b) Give the date the other sentence was imposed: LY, ff |}

(c) Give the length of the other sentence:

 

(d) Have you filed, or do you p file, any petition that challenges the ju judgment or sentence to be served in
the future? Yes @INo O (if neo! col be

 

 

 

 
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18. TIMELINESS OF PETITION: If your judgment of conviction became final over one year ago, you must explain
why the one-year statute of limitations as contained i i 28 US.C. § ner. does not bar Ne petition. *

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(MO) Court.

 

 

 

 

 

 

 

 

 

* The Antiterrorism and Effective Death Penalty Act of 1996 (‘AEDPA”) as contained in 28 U.S.C. § 2244(d)
provides in part that:

(1) A one-year period of limitation shall apply to an application for a writ of habeas corpus by a person in
custody pursuant to the judgment of a State court. The limitation period shall run from the latest of —
(A) the date on which the judgment became final by the conclusion of direct review or the expiration of the
time for seeking such review;
(B) the date on which the impediment to filing an application created by State action in violation of the
Constitution or laws of the United States is removed, if the applicant was prevented from filing by such
state action;
(C) the date on which the constitutional right asserted was initially recognized by the Supreme Court, if the
right has been newly recognized by the Supreme Court and made retroactively applicable to cases on
collateral review; or
(D) the date on which the factual predicate of the claim or claims presented could have been discovered
through the exercise of due diligence.
(2) The time during which a properly filed application for State post-conviction or other collateral review with

respect to the pertinent judgment or claim is pending shall not be counted toward any period of limitation under
this subsection.
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¢ following relief: remardl hi ‘Ss Case
Su C Coury twitt>

Therefore, petitioner asks that the Court grant
fifa

  
   

[A Man 2**

Signature of Attorney (if any)

I declare (or certify, verify, or state) under penalty of perjury that the foregoing is true and correct and that this
Petition for Writ of Habeas Corpus was placed in the prison mailing system on ~ O x
x (month, date, year).

*52K¢,

Y Executed (signed) on (date).
Sth Nene OY

EE ij0f Zo/2_
Signature of Petitioner

If the person signing is not petitioner, state relationship to petitioner and explain why petitioner is not signing
AY,
SLL

Lt ¢

this petition.

 

 

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